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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                             )
PENNSYLVANIA and                            )
STATE OF NEW JERSEY,                        )
                                            )
                       Plaintiffs,          )
v.                                          )        Civil Action No. 2:17-cv-04540 (WB)
                                            )
DONALD J. TRUMP, in his official            )
capacity as President of the United States; )
ALEX M. AZAR II, in his official            )
capacity as Secretary of Health and         )
Human Services; UNITED STATES               )
DEPARTMENT OF HEALTH AND                    )
HUMAN SERVICES; STEVEN T.                   )
MNUCHIN, in his official capacity as        )
Secretary of the Treasury; UNITED           )
STATES DEPARTMENT OF THE                    )
TREASURY; RENE ALEXANDER                    )
ACOSTA, in his official capacity as         )
Secretary of Labor; and UNITED STATES )
DEPARTMENT OF LABOR,                        )
                                            )
                       Defendants.          )
____________________________________)

       FEDERAL DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
       Federal Defendants respectfully give notice to the Court regarding the memorandum and

order granting defendants’ motion for summary judgment and denying plaintiff’s motion for

summary judgment in Massachusetts v. Department of Health & Human Services. Mem. & Order

(Op.), No. 17-cv-11930 (D. Mass. Jan. 15, 2021), ECF No. 139, attached hereto as Ex. A.

       That case involved challenges to the validity of the same Final Rules at issue here. The

District of Massachusetts court concluded that the Supreme Court’s decision in Little Sisters of the

Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020), disposed of plaintiff’s

procedural challenges to the Final Rules and argument that the defendants lacked statutory

authority to promulgate the Final Rules. Op. 12. Turning to the remaining claims, the District of

Massachusetts court rejected plaintiff’s claim that the Final Rules were arbitrary and capricious.

Op. 12-19. The court also rejected plaintiff’s Establishment Clause claim. Op. 19-24. Finally,

the court rejected plaintiff’s equal protection claim. Op. 25-29.

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DATED: January 19, 2021            Respectfully submitted,


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                                   MICHELLE R. BENNETT
                                   Assistant Branch Director

                                   /s/ Rebecca M. Kopplin
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